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                   SPOTIFY USA, INC., and
              6    AMAZON.COM, INC.
              7                               UNITED STATES DISTRICT COURT
              8                             CENTRAL DISTRICT OF CALIFORNIA
              9                                              WESTERN DIVISION
            10
            11     BERNHARD KÜHMSTEDT, an                 )           Case No. 2:22-cv-04998-RGK-E
                   individual,                            )
            12                                            )
                                Plaintiff,                )           STIPULATION TO ORDER
            13                                            )           DISMISSING ENTIRE ACTION
                          v.                              )           WITH PREJUDICE
            14                                            )
                   SPOTIFY USA, INC., a Delaware          )
            15     corporation; AMAZON.COM, INC., a       )                    [Proposed] Order
                   Delaware corporation; DEEZER S.A., a ))                    Submitted Herewith
            16     French limited liability company; TERO )
                   ENTERTAINMENT PUBLIC CO.
            17     LTD., a Thai limited company; DEMON ))
                   MUSIC GROUP LIMITED, an English )
            18     company; LIVEXLIVE, CORP.,
                   Delaware corporation; and DOES 1-10, ))
            19     inclusive,                             )
            20                  Defendants.               )
                                                          )
            21            ___________________________ )
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              1                                    STIPULATION TO DISMISSAL
              2             Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, through
              3    their respective attorneys of record, stipulate to the entry of the accompanying Order
              4    dismissing this action, in its entirety, with prejudice and with plaintiff, on the one
              5    hand, and defendants, on the other hand, to bear their respective attorneys’ fees and
              6    costs.
              7                                               SO STIPULATED
              8
              9 Dated: November 16, 2022                                     /s/ Scott Alan Burroughs
                                                                            Scott Alan Burroughs, Esq.
            10                                                                Frank R. Trechsel, Esq.
                                                                           DONIGER / BURROUGHS
            11                                                                 Attorneys for Plaintiff
            12                                                             BERNHARD KÜHMSTEDT

            13
                   Dated: November 16, 2022                                   /s/ Peter Anderson
            14                                                               Peter Anderson, Esq.
                                                                       DAVIS WRIGHT TREMAINE LLP
            15                                                             Attorneys for Defendants
                                                                          SPOTIFY USA, INC., and
            16                                                              AMAZON.COM, INC.
            17
                                                             Regarding Signatures
            18
                            The undersigned attests that all signatories listed, and on whose behalf this
            19
                   filing is submitted, concur in this filing’s content and have authorized its filing.
            20
            21
                   Dated: November 16, 2022                                     /s/ Peter Anderson
            22                                                                 Peter Anderson, Esq.
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